 Case 7:17-cv-00004-O Document 19-2 Filed 03/27/17                         Page 1 of 79 PageID 244


                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
__________________________________________
                                           )
VALERO ENERGY CORPORATION                 )
                                          )
       Plaintiff,                         )
                                          )
v.                                        )  Case No. 7:17-CV-00004-O
                                          )
U.S. ENVIRONMENTAL PROTECTION             )
AGENCY, et al.,                           )
                                          )
      Defendants.                         )
__________________________________________)

               APPENDIX TO MEMORANDUM IN SUPPORT OF
                   DEFENDANTS’ MOTION TO DISMISS




                                   TABLE OF CONTENTS


EXHIBIT A.    Petition for Review (February 12, 2016) ...........................................................1

EXHIBIT B.    Obligated Party Petitioners’ Opening Brief Regarding
              EPA’s Refusal to Consider the Appropriate Placement
              of the Compliance Obligation in the Final Rule (September 8, 2016) ..............6

EXHIBIT C.    Order, D.C. Cir. No. 16-1005 (January 30, 2017)............................................59

EXHIBIT D.    Petition for Review on “After-Arising” Grounds with Attached
              Administrative Petition (February 12, 2016) ..................................................60
Case 7:17-cv-00004-O Document 19-2 Filed 03/27/17   Page 2 of 79 PageID 245
Case 7:17-cv-00004-O Document 19-2 Filed 03/27/17   Page 3 of 79 PageID 246
Case 7:17-cv-00004-O Document 19-2 Filed 03/27/17   Page 4 of 79 PageID 247
Case 7:17-cv-00004-O Document 19-2 Filed 03/27/17   Page 5 of 79 PageID 248
Case 7:17-cv-00004-O Document 19-2 Filed 03/27/17   Page 6 of 79 PageID 249
 CaseCase
USCA  7:17-cv-00004-O
           #16-1005   Document #1634780
                      Document 19-2 Filed 03/27/17    Page 7 of 79 PageID
                                               Filed: 09/08/2016          250
                                                                   Page 1 of 77


                         ORAL ARGUMENT NOT SCHEDULED
                         No. 16-1005 (and consolidated cases)
                                             IN THE

                     United States Court of Appeals
                 FOR THE DISTRICT OF COLUMBIA CIRCUIT
                            Americans for Clean Energy, et al.,
                                       Petitioners
                                                   v.
                            Environmental Protection Agency,
                                     Respondent
                         Petition for Review of Final Agency Action
                          of the Environmental Protection Agency
          Obligated Party Petitioners’ Opening Brief Regarding
          EPA’s Refusal to Consider the Appropriate Placement
             of the Compliance Obligation in the Final Rule

Samara L. Kline                   LeAnn M. Johnson                     Richard S. Moskowitz
BAKER BOTTS L.L.P.                Albert Ferlo                         American Fuel & Petrochemical
2001 Ross Avenue                  Perkins Coie LLP                     Manufacturers
Dallas, TX 75201                  700 Thirteenth Street, N.W.          1667 K Street, NW
(214) 953-6500                    Suite 600                            Suite 700
                                  Washington, DC 20005-3960            Washington, DC 20006
Evan A. Young                     (202) 654-6209                       (202) 552-8474
BAKER BOTTS L.L.P.
98 San Jacinto Blvd.              Counsel for Petitioners              Thomas Allen Lorenzen
Suite 1500                        Alon Refining Krotz Springs, Inc.,   Crowell & Moring LLP
Austin, TX 78701                  American Refining Group, Inc.,       1001 Pennsylvania Avenue, NW
(512) 322-2506                    Calumet Specialty Products           Washington, DC 20004-2595
                                  Partners, L.P., Ergon-West           (202) 624-2789
Shane Pennington                  Virginia, Inc., Hunt Refining
BAKER BOTTS L.L.P.                Company, Lion Oil Company,           Counsel for Petitioner
910 Louisiana St.                 Placid Refining Company, U.S. Oil    American Fuel & Petrochemical
Houston, TX 77002                 & Refining Co., and Wyoming          Manufacturers
(713) 229-1340                    Refining Company
Lisa M. Jaeger                    Thomas J. Perrelli
Richard Alonso                    David W. DeBruin
BRACEWELL LLP                     Matthew E. Price
2000 K Street, NW                 JENNER & BLOCK LLP
Suite 500                         1099 New York Ave. NW
Washington, DC 20006-1872         Suite 900
(202) 828-5800                    Washington, DC 20001
Counsel for Petitioner            (202) 639-6873
Valero Energy Corp.               Counsel for Petitioner
                                  Monroe Energy, LLC




                                                                                                       6
 CaseCase
USCA  7:17-cv-00004-O
           #16-1005   Document #1634780
                      Document 19-2 Filed 03/27/17    Page 8 of 79 PageID
                                               Filed: 09/08/2016          251
                                                                   Page 2 of 77


          CERTIFICATE AS TO PARTIES, RULINGS, AND
                      RELATED CASES

     A.     Parties, Intervenors, and Amici

      Petitioners:

Case No. 16-1005                        Americans for Clean Energy; Ameri-
                                        can Coalition for Ethanol; Biotech-
                                        nology Innovation Organization;
                                        Growth Energy; National Corn
                                        Growers Association; National Sor-
                                        ghum Producers; and Renewable
                                        Fuels Association

Case No. 16-1044                        Monroe Energy, LLC

Case No. 16-1047                        American Fuel      &   Petrochemical
                                        Manufacturers

Case No. 16-1049                        Alon Refining Krotz Springs, Inc.,
                                        American Refining Group, Inc., Cal-
                                        umet Specialty Products Partners,
                                        L.P., Ergon-West Virginia, Inc.,
                                        Hunt Refining Company, Lion Oil
                                        Company, Placid Refining Company,
                                        U.S. Oil & Refining Co., and Wyo-
                                        ming Refining Company (collectively
                                        “Coalition”)

Case No. 16-1050                        American Petroleum Institute

Case No. 16-1053                        National Biodiesel Board

Case No. 16-1054                        Valero Energy Corp.

Case No. 16-1056                        National Farmers Union




                                                                             7
 CaseCase
USCA  7:17-cv-00004-O
           #16-1005   Document #1634780
                      Document 19-2 Filed 03/27/17    Page 9 of 79 PageID
                                               Filed: 09/08/2016          252
                                                                   Page 3 of 77


      Respondents:

      The Environmental Protection Agency (“EPA”) (in Case Nos. 16-1044,

16-1047, 16-1049, 16-1053, and 16-1054) and EPA and Gina McCarthy, Ad-

ministrator (in Case Nos. 16-1005, 16-1050, and 16-1056).

      Intervenors:

      E.I. du Pont de Nemours and Company is a Petitioner-Intervenor in

Case No. 16-1005.

      Alon Refining Krotz Springs, Inc.; American Fuel and Petrochemical

Manufacturers; American Petroleum Institute; American Refining Group,

Inc.; Calumet Specialty Products Partners, L.P.; Ergon-West Virginia, Inc.;

Hunt Refining Company; Lion Oil Company; Monroe Energy, LLC; Placid

Refining Company; U.S. Oil & Refining Company; Valero Energy Corpora-

tion; and Wyoming Refining Company are Respondent-Intervenors in Case

Nos. 16-1005, 16-1053, and 16-1056.

      American Coalition for Ethanol; Americans for Clean Energy; Bio-

technology Innovation Organization; E.I. du Pont de Nemours and Compa-

ny; Growth Energy; National Biodiesel Board; National Corn Growers As-

sociation; National Sorghum Producers; and Renewable Fuels Association

are Respondent-Intervenors in Case Nos. 16-1044, 16-1047, 16-1049, 16-

1050, and 16-1054.




                                                                             8
 Case Case
USCA  7:17-cv-00004-O
           #16-1005   Document 19-2 Filed 03/27/17
                               #1634780        Filed:Page 10 of 79 Page
                                                     09/08/2016    PageID  253
                                                                        4 of 77


      Amici before this Court:

      None.

      B.    Rulings Under Review

      The agency action under review is EPA’s final action entitled Renew-

able Fuel Standard Program: Standards for 2014, 2015, and 2016 and Bio-

mass-Based Diesel Volume for 2017, 80 Fed. Reg. 77,420 (Dec. 14, 2015)

(the “Final Rule”).

     C.     Related Cases

      Each of the Petitions for Review consolidated under Case No. 16-1005

is related. These cases are Monroe Energy, LLC v. EPA, Case No. 16-1044;

American Fuel & Petrochemical Manufacturers v. EPA, Case No. 16-1047;

Alon Refining Krotz Springs, Inc., et al. v. EPA, Case No. 16-1049; Ameri-

can Petroleum Institute v. Gina McCarthy, et al., Case No. 16-1050; Na-

tional Biodiesel Board v. EPA, Case No. 16-1053; Valero Energy Corpora-

tion v. EPA, Case No. 16-1054; and National Farmers Union v. EPA, et al.,

Case No. 16-1056. The consolidated cases on review have not been re-

viewed by this or any other Court.

      On May 5, 2016, this Court deconsolidated Alon Refining Krotz

Springs, et al. v. EPA, Case No. 16-1052, which challenges EPA’s 2010 Final

Rule entitled Regulation of Fuels and Fuel Additives: Changes to Renewa-




                                                                             9
 Case Case
USCA  7:17-cv-00004-O
           #16-1005   Document 19-2 Filed 03/27/17
                               #1634780        Filed:Page 11 of 79 Page
                                                     09/08/2016    PageID  254
                                                                        5 of 77


ble Fuel Standard Program, 75 Fed. Reg. 14,670 (Mar. 26, 2010) (the “2010

Rule”), from this case. See Order Deconsolidating Case No. 16-1052 (Doc.

No. 1611965). No. 16-1052 is currently being held in abeyance.




                                                                           10
 Case Case
USCA  7:17-cv-00004-O
           #16-1005   Document 19-2 Filed 03/27/17
                               #1634780        Filed:Page 12 of 79 Page
                                                     09/08/2016    PageID  255
                                                                        6 of 77


              CORPORATE DISCLOSURE STATEMENT

      In accordance with Federal Rule of Appellate Procedure 26.1 and D.C.

Circuit Rule 26.1, Petitioners provide the following:

      • Alon Refining Krotz Springs, Inc. is incorporated under the
        laws of Delaware. Alon Refining Krotz Springs, Inc. is a re-
        finer of petroleum products. Alon Refining Krotz Springs,
        Inc. is owned 100% by parent company Alon USA Energy,
        Inc. Alon USA Energy, Inc. is a publicly traded company.

      • American Fuel & Petrochemical Manufacturers (“AFPM”) is
        a national trade association of approximately 400 compa-
        nies, including virtually all U.S. refiners and petrochemical
        manufacturers. AFPM has no parent companies, and no
        publicly held company has a 10% or greater ownership inter-
        est in AFPM. AFPM is a “trade association” within the
        meaning of Circuit Rule 26.1. AFPM is a continuing associa-
        tion operating for the purpose of promoting the general
        commercial, professional, legislative, or other interests of its
        memberships.

      • American Refining Group, Inc. is incorporated under the
        laws of Pennsylvania. American Refining Group, Inc. is a re-
        finer of petroleum products. American Refining Group, Inc.
        has no parent company, and no publicly held company has a
        10% or greater ownership interest in it.

      • Calumet Specialty Products Partners, L.P. is incorporated
        under the laws of Delaware. Calumet Specialty Products
        Partners, L.P. is a refiner of petroleum products. Calumet
        Specialty Products Partners, L.P. has no parent company,
        and no publicly held company has a 10% or greater owner-
        ship interest in it.

      • Ergon-West Virginia, Inc. is incorporated under the laws of
        Mississippi. Ergon-West Virginia, Inc. is a refiner of petro-
        leum products. Ergon-West Virginia, Inc. is 100% owned by
        parent company Ergon, Inc., and no publicly held company
        has a 10% or greater ownership interest in it.



                                                                           11
 Case Case
USCA  7:17-cv-00004-O
           #16-1005   Document 19-2 Filed 03/27/17
                               #1634780        Filed:Page 13 of 79 Page
                                                     09/08/2016    PageID  256
                                                                        7 of 77


      • Hunt Refining Company is incorporated under the laws of
        Delaware. Hunt Refining Company is a refiner of petroleum
        products. Hunt Refining Company is 100% owned by Hunt
        Consolidated Hydrocarbons, LLC and Hunt Consolidated,
        Inc., and no publicly held company has a 10% or greater
        ownership interest in it.

      • Lion Oil Company is incorporated under the laws of Arkan-
        sas. Lion Oil Company is a refiner of petroleum products.
        Lion Oil Company is 100% owned by parent company Delek
        US Holdings, Inc. Delek US Holdings, Inc. is a publicly trad-
        ed company

      • Monroe Energy, LLC is a Pennsylvania-based refiner of pe-
        troleum products and is wholly owned by Delta Air Lines,
        Inc., a publicly traded company.

      • Placid Refining Company is a limited liability corporation
        under the laws of Delaware. Placid Refining Company LLC
        is a refiner of petroleum products. Placid Refining Company
        LLC has no parent company, and is owned 77% by Placid
        Holding Company and 23% by Rosewood Refining LLC.
        None of these entities is publicly traded.

      • U.S. Oil & Refining Co. is incorporated under the laws of
        Delaware. U.S. Oil & Refining Co. is a refiner of petroleum
        products. U.S. Oil and Refining Co. is 100% owned by parent
        company, TrailStone, L.P., and no publicly held company has
        a 10% or greater ownership interest in it.

      • Valero Energy Corporation is a Texas-based energy company
        incorporated under Delaware law. Valero is both the world’s
        largest independent refiner and the nation’s third-largest
        ethanol producer and largest renewable-diesel producer.
        Valero has no parent corporation and no publicly held com-
        pany owns a 10% or greater interest of its stock.

      • Wyoming Refining Company is a trade name for Hermes
        Consolidated, LLC, a limited liability company organized
        under the laws of Delaware. Wyoming Refining Company is
        a refiner of petroleum products. Hermes Consolidated, LLC



                                                                           12
 Case Case
USCA  7:17-cv-00004-O
           #16-1005   Document 19-2 Filed 03/27/17
                               #1634780        Filed:Page 14 of 79 Page
                                                     09/08/2016    PageID  257
                                                                        8 of 77


         is owned 100% by Par Wyoming LLC, an indirect wholly
         owned subsidiary of Par Pacific Holdings, Inc., a publicly
         held company.




                                                                           13
 Case Case
USCA  7:17-cv-00004-O
           #16-1005   Document 19-2 Filed 03/27/17
                               #1634780        Filed:Page 15 of 79 Page
                                                     09/08/2016    PageID  258
                                                                        9 of 77



                                    TABLE OF CONTENTS
                                                                                                      Page
CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES .......... i

CORPORATE DISCLOSURE STATEMENT ................................................. v

TABLE OF AUTHORITIES ........................................................................... x

GLOSSARY ................................................................................................. xiii

STATEMENT WITH RESPECT TO ORAL ARGUMENT .............................. 1

JURISDICTIONAL STATEMENT ................................................................. 2

STATEMENT OF THE ISSUE ....................................................................... 3

STATUTES AND REGULATIONS ................................................................ 4

STATEMENT OF THE CASE ........................................................................ 5

        A.      The RFS Program ....................................................................... 6

        B.      EPA’s initial decision to place the compliance obligation
                only on refiners and importers .................................................. 8

        C.      EPA proposed annual percentage standards for 2014-
                2016, inviting comments on “the full range of
                constraints” on the renewable-fuel supply............................... 10

        D.      EPA refused to consider comments regarding the point of
                obligation but exercised its general waiver authority.................15

SUMMARY OF ARGUMENT ...................................................................... 18

STANDING.................................................................................................. 20

ARGUMENT................................................................................................ 20




                                                                                                          14
 CaseCase
USCA  7:17-cv-00004-O
           #16-1005   Document #1634780
                      Document 19-2 Filed 03/27/17    Page 16 of 79 Page
                                               Filed: 09/08/2016     PageID 259
                                                                         10 of 77


        A.      EPA violated its plain statutory duty to determine
                renewable-fuel obligations that are “applicable” to
                “refineries, blenders, and importers, as appropriate.”............. 20

        B.      EPA’s disregard of the point of obligation is premised on
                an unreasonable interpretation of the statute. ........................ 23

        C.      EPA’s refusal to consider the compliance point is arbitrary
                and capricious. ......................................................................... 26

                1. Petitioners’ comments were not beyond the scope of the
                   rulemaking. ......................................................................... 27
                2. EPA’s refusal to consider the point of obligation is
                   inconsistent with the Final Rule’s rationale. ...................... 30
                3. EPA’s refusal to consider the point of obligation is
                   inconsistent with its prior findings and conclusions. ......... 33
CONCLUSION............................................................................................. 35

CERTIFICATE OF COMPLIANCE .............................................................. 38

CERTIFICATE OF SERVICE....................................................................... 39




                                                                                                       15
 CaseCase
USCA  7:17-cv-00004-O
           #16-1005   Document #1634780
                      Document 19-2 Filed 03/27/17    Page 17 of 79 Page
                                               Filed: 09/08/2016     PageID 260
                                                                         11 of 77


                               TABLE OF AUTHORITIES*

                                                                                             Page(s)
CASES
Allied-Signal, Inc. v. Nuclear Regulatory Comm’n,
   988 F.2d 146 (D.C. Cir. 1993) ................................................................. 35
Amerijet Int’l, Inc. v. Pistole,
  753 F.3d 1343 (D.C. Cir. 2014) ............................................................... 29
Am. Petroleum Inst. v. EPA,
  706 F.3d 474 (D.C. Cir. 2013) ......................................................... 6, 9, 33
Chem. Mfrs. Ass’n v. EPA,
  217 F.3d 861 (D.C. Cir. 2000) ........................................................... 25, 35
*Chevron, U.S.A., Inc. v. NRDC, Inc.,
  467 U.S. 837 (1984) ................................................................................ 23
City of Arlington v. FCC,
   133 S. Ct. 1863 (2013) ............................................................................. 23
*Encino Motorcars, LLC v. Navarro,
  136 S. Ct. 2117 (2016) ........................................................................ 28, 35
FCC v. Fox Television Stations, Inc.,
  556 U.S. 502 (2009) ............................................................................... 35
Home Box Office, Inc. v. FCC,
  567 F.2d 9 (D.C. Cir. 1977)...................................................................... 29
Michigan v. EPA,
  135 S. Ct. 2699 (2015) ....................................................................... 24, 25
Monroe Energy, LLC v. EPA,
  750 F.3d 909 (D.C. Cir. 2014) ................................................... 6, 7, 11, 20
*Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co.,
  463 U.S. 29 (1983) ...................................................................... 28, 30, 33

*   Authorities upon which we chiefly rely are marked with asterisks.



                                                                                                     16
 CaseCase
USCA  7:17-cv-00004-O
           #16-1005   Document #1634780
                      Document 19-2 Filed 03/27/17    Page 18 of 79 Page
                                               Filed: 09/08/2016     PageID 261
                                                                         12 of 77


Nat’l Petrochemical & Refiners Ass’n v. EPA,
  630 F.3d 145 (D.C. Cir. 2010) ................................................................... 6
New York v. EPA,
  413 F.3d 3 (D.C. Cir. 2005) ..................................................................... 22
Pac. Nw. Newspaper Guild v. NLRB,
  877 F.2d 998 (D.C. Cir. 1989) ................................................................. 34
Util. Air Regulatory Grp. v. EPA,
   134 S. Ct. 2427 (2014) ....................................................................... 23, 26
White Stallion Energy Ctr., LLC v. EPA,
  No. 12-1100, 2015 WL 11051103 (D.C. Cir. Dec. 15, 2015)...................... 35
STATUTES
Energy Independence and Security Act of 2007, Pub. L. No.
  110-140, 121 Stat. 1492 (2007).................................................................. 6
42 U.S.C. § 7412(n)(1)(A) ............................................................................ 25
42 U.S.C. § 7545(o)(2) ............................................................................. 6, 24
42 U.S.C. § 7545(o)(3) ............................................................ 7, 21, 24, 25, 27
42 U.S.C. § 7545(o)(7) ............................................................................. 8, 26
CODE OF FEDERAL REGULATIONS
40 C.F.R. § 80.1406 ................................................................................. 8, 10
40 C.F.R. § 80.1427 ....................................................................................... 7
FEDERAL REGISTER
72 Fed. Reg. 23,900 (May 1, 2007) ........................................................... 8, 9
*75 Fed. Reg. 14,670 (Mar. 26, 2010) ................................. iv, 8, 9, 10, 26, 33
75 Fed. Reg. 76,790 (Dec. 9, 2010)...............................................................21
78 Fed. Reg. 12,158 (Feb. 21, 2013) ..............................................................14
78 Fed. Reg. 49,794 (Aug. 15, 2013) ............................................................. 11



                                                                                                        17
 CaseCase
USCA  7:17-cv-00004-O
           #16-1005   Document #1634780
                      Document 19-2 Filed 03/27/17    Page 19 of 79 Page
                                               Filed: 09/08/2016     PageID 262
                                                                         13 of 77


*80 Fed. Reg. 33,100 (June 10, 2015) ....................................... 10,11,12,13,28
*80 Fed. Reg. 77,420 (Dec. 14, 2015) .......................... iii, 15, 16, 17, 18, 21, 22
  26, 27, 30, 31, 32, 34, 35
OTHER AUTHORITIES
Christopher R. Knittel et al., The Pass-Through of RIN Prices to
  Wholesale and Retail Fuels under the Renewable Fuel
  Standard (June 2015), available at
  http://scholar.harvard.edu/files/stock/files/pass-
  through_of_rin_prices_1.pdf .................................................................13
Morgenson & Gebeloff, Wall St. Exploits Ethanol Credits, and
  Prices Spike, N.Y. Times, Sept. 15, 2013, available at
  http://www.nytimes.com/2013/09/15/business/wall-st-
  exploits-ethanol-credits-and-prices-spike ..............................................12




                                                                                             18
 CaseCase
USCA  7:17-cv-00004-O
           #16-1005   Document #1634780
                      Document 19-2 Filed 03/27/17    Page 20 of 79 Page
                                               Filed: 09/08/2016     PageID 263
                                                                         14 of 77


                                 GLOSSARY

 Act                    Clean Air Act

 Coalition              Petitioners in Case No. 16-1049 (Alon Refining Krotz
                        Springs, Inc., American Refining Group, Inc., Calumet
                        Specialty Products Partners, L.P., Ergon-West Virginia,
                        Inc., Hunt Refining Company, Lion Oil Company, Plac-
                        id Refining Company, U.S. Oil & Refining Co., and Wy-
                        oming Refining Company)
 EPA                    Environmental Protection Agency

 NPRM                   Notice of Proposed Rulemaking

 RFS Program            Renewable Fuel Standards Program

 RIN                    Renewable Identification Number




                                                                             19
 CaseCase
USCA  7:17-cv-00004-O
           #16-1005   Document #1634780
                      Document 19-2 Filed 03/27/17    Page 21 of 79 Page
                                               Filed: 09/08/2016     PageID 264
                                                                         15 of 77


        STATEMENT WITH RESPECT TO ORAL ARGUMENT

      Petitioners request that the Court hear oral argument in this case,

which involves numerous parties, complex issues, and agency decisions af-

fecting not only the parties but also the entire Nation. Accordingly, Peti-

tioners believe oral argument will assist this Court in resolving the issues

presented.




                                                                             20
 CaseCase
USCA  7:17-cv-00004-O
           #16-1005   Document #1634780
                      Document 19-2 Filed 03/27/17    Page 22 of 79 Page
                                               Filed: 09/08/2016     PageID 265
                                                                         16 of 77


                    JURISDICTIONAL STATEMENT

      Petitioners incorporate the Jurisdictional Statement from the Obli-

gated Party Petitioners’ Opening Brief on Cellulosic Biofuel and Biomass-

Based Diesel.




                                                                             21
 CaseCase
USCA  7:17-cv-00004-O
           #16-1005   Document #1634780
                      Document 19-2 Filed 03/27/17    Page 23 of 79 Page
                                               Filed: 09/08/2016     PageID 266
                                                                         17 of 77




                       STATEMENT OF THE ISSUE

      Whether remand is required because, contrary to congressional man-

date, EPA refused to consider whether it placed obligations under the Re-

newable Fuel Standards Program on those parties “appropriate” to “ensure”

that statutorily mandated fuel volumes “are met.”




                                                                             22
 CaseCase
USCA  7:17-cv-00004-O
           #16-1005   Document #1634780
                      Document 19-2 Filed 03/27/17    Page 24 of 79 Page
                                               Filed: 09/08/2016     PageID 267
                                                                         18 of 77


                      STATUTES AND REGULATIONS

         All pertinent statutes and regulations appear in the Addendum to this

brief.




                                                                             23
 CaseCase
USCA  7:17-cv-00004-O
           #16-1005   Document #1634780
                      Document 19-2 Filed 03/27/17    Page 25 of 79 Page
                                               Filed: 09/08/2016     PageID 268
                                                                         19 of 77


                       STATEMENT OF THE CASE

      The Clean Air Act’s Renewable Fuel Standards Program (“RFS Pro-

gram”) requires EPA to set annual obligations for renewable-fuel use in the

transportation-fuel industry. Congress directs EPA, when doing so, to obli-

gate the “appropriate” parties to “ensure” that statutorily-required fuel vol-

umes “are met.” Petitioners challenge an EPA Final Rule that set annual

requirements under the RFS Program, yet expressly refused to consider

which parties (among refineries, importers, and blenders) it is “appropri-

ate” to obligate.

      In comments on EPA’s proposed rule, Petitioners demonstrated that

EPA had not obligated the appropriate parties and that misplacement of the

obligation was a constraint on the renewable-fuel supply. Rather than re-

spond, EPA declared this issue beyond the scope of the rulemaking. Simul-

taneously, however, EPA for the first time exercised authority to waive stat-

utory renewable-fuel requirements after determining that domestic supply

is inadequate. In making that determination, EPA conceded the existence

of market dysfunctions that it previously indicated would compel examina-

tion of which parties to obligate.

      Petitioners contend that the Final Rule omits a statutorily-required

element that Congress established as central to the RFS Program’s success,




                                                                             24
 CaseCase
USCA  7:17-cv-00004-O
           #16-1005   Document #1634780
                      Document 19-2 Filed 03/27/17    Page 26 of 79 Page
                                               Filed: 09/08/2016     PageID 269
                                                                         20 of 77


and must therefore be remanded for EPA to consider which parties to obli-

gate. As detailed below, EPA’s refusal to do so is contrary to plain statutory

language and undermines the RFS Program’s purpose and structure. And

given the regulatory history, the Notice of Proposed Rulemaking leading to

the Final Rule, and EPA’s analysis in the Final Rule, EPA’s refusal to con-

sider the issue would be arbitrary and capricious even without the plain

statutory language.

      A.    The RFS Program
      In three prior opinions,1 this Court detailed the history and frame-

work of the RFS Program. Enacted in 2005 and expanded in 2007, the

Program’s goals include “‘greater energy independence and security,’” “‘in-

creas[ing] the production of clean renewable fuels,’” and “‘protect[ing] con-

sumers . . . .’” Monroe Energy, LLC v. EPA, 750 F.3d 909, 911 (D.C. Cir.

2014) (quoting Energy Independence and Security Act of 2007, Pub. L. No.

110-140, 121 Stat. 1492 (2007)). To accomplish these purposes, Congress

required that “transportation fuel sold or introduced into commerce in the

United States” contain annually increasing “applicable volume[s]” of re-

newable fuel. See 42 U.S.C. § 7545(o)(2)(A)-(B).


1Monroe Energy, LLC v. EPA, 750 F.3d 909 (D.C. Cir. 2014); Am. Petrole-
um Inst. (“API”) v. EPA, 706 F.3d 474 (D.C. Cir. 2013); and Nat’l Petro-
chemical & Refiners Ass’n v. EPA, 630 F.3d 145 (D.C. Cir. 2010).



                                                                             25
 CaseCase
USCA  7:17-cv-00004-O
           #16-1005   Document #1634780
                      Document 19-2 Filed 03/27/17    Page 27 of 79 Page
                                               Filed: 09/08/2016     PageID 270
                                                                         21 of 77


      EPA must determine and publish annual percentage standards, which

represent the fraction of renewable fuel that must be contained, on average,

in transportation fuel sold or introduced into commerce to “ensure[]” that

the applicable statutory volumes and other requirements are met. See id.

§ 7545(o)(3)(B)(i). The annual percentage standards must satisfy three

“[r]equired elements,” including that they “shall . . . be applicable to refiner-

ies, blenders, and importers, as appropriate.” Id. § 7545(o)(3)(B)(ii)(I).

      Obligated parties demonstrate compliance with the annual standards

by acquiring and retiring “Renewable Identification Numbers” (“RINs”), 40

C.F.R. § 80.1427, which represent a standardized measure of renewable

fuel, id. §§ 80.1401, 80.1415. Obligated parties generally must demonstrate

compliance with a given year’s standards by the following March 31. Id.

§ 80.1451(a)(1). RINs generally become available when an obligated party

obtains ownership of renewable fuel or when any party blends renewable

fuel into transportation fuel. See id. § 80.1429. Once “separated” from re-

newable fuel, RINs may be traded in the market or used to satisfy compli-

ance obligations. See Monroe Energy, 750 F.3d at 912-13. Obligated par-

ties that cannot obtain sufficient RINs through their own actions (because

they do not control whether and to what extent the nonrenewable fuel they

produce is blended with renewable fuel) must buy RINs from other sources,




                                                                             26
 CaseCase
USCA  7:17-cv-00004-O
           #16-1005   Document #1634780
                      Document 19-2 Filed 03/27/17    Page 28 of 79 Page
                                               Filed: 09/08/2016     PageID 271
                                                                         22 of 77


including other obligated parties holding excess RINs, unobligated blend-

ers, or other third parties who buy and sell RINs. See 40 C.F.R. §§ 80.1425-

29; see also Regulation of Fuels and Fuel Additives: Renewable Fuel Stand-

ard Program, 72 Fed. Reg. 23,900, 23,904 (May 1, 2007). EPA has ex-

plained that this “RIN-based trading program is [] essential [to the success]

of the RFS program.” Id. at 23,908.

      Congress provided EPA with general waiver authority to set annual

standards below statutorily applicable volumes if, after notice and com-

ment, EPA determines that “implementation of the requirement[s] would

severely harm the economy or environment” or “there is an inadequate

domestic supply.” 42 U.S.C. § 7545(o)(7)(A)(i)-(ii).

      B.    EPA’s initial decision to place the compliance obliga-
            tion only on refiners and importers
      In its 2007 regulations, EPA initially placed the compliance obliga-

tion on refiners and importers, but not blenders. 72 Fed. Reg. at 23,937.

This choice was made to “minimize the number of regulated parties and

keep the program simple.” 75 Fed. Reg. at 14,722. Thus, while it defined

the term “obligated party” to include refiners and importers, “[a] party that

simply blends renewable fuel into gasoline or diesel fuel . . . is not an obli-

gated party.” 40 C.F.R. § 80.1406(a)(1). As EPA recognized, however, this

choice misaligned the obligation and the means of compliance. “[T]he ac-



                                                                             27
 CaseCase
USCA  7:17-cv-00004-O
           #16-1005   Document #1634780
                      Document 19-2 Filed 03/27/17    Page 29 of 79 Page
                                               Filed: 09/08/2016     PageID 272
                                                                         23 of 77


tions needed for compliance largely center on the production, distribution,

and use of a product by parties other than refiners and importers.” 72 Fed.

Reg. at 23,937. Refiners and importers “do not generally produce or blend

renewable fuels at their facilities.” Id.

      In its 2010 Rule, EPA acknowledged that its initial administrative-

ease rationale for obligating refiners and importers, but not blenders, was

“no longer valid” and that imposing the obligation on “alternative” points in

the fuel-supply chain would “more evenly align a party’s access to RINs

with that party’s [RFS Program] obligations.” 75 Fed. Reg. at 14,722. Pro-

fessing “continue[d] belie[f] that the market w[ould] provide opportunities

for parties who are in need of RINs to acquire them from parties who have

excess,” id., however, EPA left the compliance obligation unchanged despite

the “asymmetry in incentives,” see Am. Petroleum Inst. (“API”), 706 F.3d

474, 480 (D.C. Cir. 2013) (“EPA applies the pressure to one industry (the

refiners) . . . yet it is another . . . that enjoys the requisite expertise, plant,

capital and ultimate opportunity for profit. Apart from their role as captive

consumers, the refiners are in no position to ensure, or even contribute to,

growth in the [renewable-fuel] industry.”) (citations omitted).2 But EPA

pledged to “continue to evaluate the functionality of the RIN market,” and

2 The Court’s recognition that refiners cannot ensure compliance with the
cellulosic biofuel mandate applies equally to other RFS biofuel mandates.



                                                                               28
 CaseCase
USCA  7:17-cv-00004-O
           #16-1005   Document #1634780
                      Document 19-2 Filed 03/27/17    Page 30 of 79 Page
                                               Filed: 09/08/2016     PageID 273
                                                                         24 of 77


to “consider revisiting” the point of obligation—that is, EPA’s decision to

obligate refiners and importers, but not blenders 3—if EPA “determine[d]

that the RIN market is not operating as intended, driving up prices for obli-

gated parties and fuel prices for consumers.” 75 Fed. Reg. at 14,722.

      C.    EPA proposed annual percentage standards for 2014-
            2016, inviting comments on “the full range of con-
            straints” on the renewable-fuel supply.
      In its June 10, 2015, Notice of Proposed Rulemaking (“NPRM”),4 EPA

proposed to exercise its general waiver authority for the first time and to set

annual renewable-fuel volumes for 2014-2016 below the statutorily appli-

cable volumes.     According to EPA, “real-world limitations,” such as slow-

er-than-expected development of the cellulosic biofuel industry, lower-

than-expected gasoline use, and biofuel-supply constraints, had rendered

domestic supply inadequate, triggering the agency’s authority to waive the

statutory volumes. Id. at 33,101-102.

      Although below the statutory targets, EPA’s proposed volumes “re-

quire [renewable-fuel] use at levels significantly beyond the . . . E10 blend-

wall.” Id. at 33,102. The blendwall is “an infrastructure and market-related

constraint on ethanol demand” that “arises because most U.S. vehicle en-

3Petitioners, like EPA, refer to the effect of EPA’s definition of “obligated
party” in 40 C.F.R. § 80.1406 as the “point of obligation.”
4See Renewable Fuel Standard Program: Standards for 2014, 2015, and
2016, 80 Fed. Reg. 33,100 (June 10, 2015).



                                                                             29
 CaseCase
USCA  7:17-cv-00004-O
           #16-1005   Document #1634780
                      Document 19-2 Filed 03/27/17    Page 31 of 79 Page
                                               Filed: 09/08/2016     PageID 274
                                                                         25 of 77


gines were not designed to handle gasoline consisting of more than 10 per-

cent ethanol.” Monroe Energy, 750 F.3d at 913-14.

      EPA proposed “to overcome current constraints and challenges” and

incentivize expanded renewable-fuel use. 80 Fed. Reg. at 33,102. Accord-

ing to EPA, “[t]he effect of increasing RIN prices is . . . to reduce the price of

more renewable-fuel intensive fuels (e.g. E85) relative to the price of fuels

with a lower renewable content (e.g. E10).” Regulation of Fuels and Fuel

Additives: 2013 Renewable Fuel Standards, 78 Fed. Reg. 49,794, 49,822

(Aug. 15, 2013). This dynamic, EPA believed, would result in greater pene-

tration of renewable fuel. 5

      The NPRM acknowledged that when determining the degree to which

“domestic supply” was “inadequate,” thereby permitting waiver of the

statutory volumes, EPA should consider “the full range of constraints that

could result in an inadequate supply of renewable fuel to the ultimate con-

sumers, including fuel infrastructure and other constraints.” 80 Fed. Reg.

at 33,111. EPA invited and encouraged comments “on all aspects of this

proposal” and “any aspect of this rulemaking.” Id. at 33,150.


5Under EPA’s theory, higher RIN prices “should” reduce the effective cost
of ethanol, thereby reducing the cost of high-ethanol fuel blends relative to
E10. See 80 Fed. Reg. at 33,119 & n.49 (citing A Preliminary Assessment of
RIN Market Dynamics, RIN Prices and Their Effects, Dallas Burkholder,
Office of Transp. and Air Quality, EPA (May 14, 2015)).



                                                                              30
 CaseCase
USCA  7:17-cv-00004-O
           #16-1005   Document #1634780
                      Document 19-2 Filed 03/27/17    Page 32 of 79 Page
                                               Filed: 09/08/2016     PageID 275
                                                                         26 of 77


      In response to the NPRM, over a dozen parties submitted comments

urging EPA to amend the regulatory definition of “obligated party” to cor-

rect multiple systemic problems that result from imposing the obligation on

refiners and importers, but not blenders. These comments demonstrate

that the existing regulatory point of obligation is itself a supply constraint.

See JA (Valero Comments 2-5, 40-45; Monroe Energy Comments 40-46;

Coalition Comments 18-19). The administrative record supporting these

comments includes reports by economic experts and an analysis by Ronald

Minsk, who served as Special Assistant to the President for Energy and En-

vironment. The record shows that the mismatch between the current com-

pliance point and the means of compliance has hampered penetration of

renewable fuels at higher levels, prevented the value of RINs from passing

through to consumers in the form of relatively lower prices for high-ethanol

fuel blends relative to E10, and impeded installation of infrastructure need-

ed to blend increasing volumes of renewable fuel.

      Based on his review of the data, Minsk concluded that “the RINs

market is simply not functioning as it should.” JA (Minsk Letter 3). Specif-

ically, “[t]he current point of obligation is a significant factor inhibiting

greater amounts of E85, and perhaps biodiesel, from reaching the market

due primarily to the lack of properly aligned incentives and the resulting




                                                                             31
 CaseCase
USCA  7:17-cv-00004-O
           #16-1005   Document #1634780
                      Document 19-2 Filed 03/27/17    Page 33 of 79 Page
                                               Filed: 09/08/2016     PageID 276
                                                                         27 of 77


shortfall in blending infrastructure expansion.” Id. (Minsk letter 6-7).6

Likewise, a study by National Economic Research Associates (the “NERA

Report”) concluded that, “if EPA wants [the RFS program] to have any

chance of meeting its original goals, it must consider changes to its design.”

JA (Valero Comments 6 (quoting NERA Report 16)).

      Additionally, economists from MIT, the University of Michigan, and

Harvard released a paper demonstrating that the pass-through of RIN pric-

es to retail customers in the form of lower E85 prices relative to E10 “is pre-

cisely estimated to be zero if one adjusts for seasonality.”7 Thus, the prima-

ry theoretical mechanism on which EPA relied to increase the renewable-

fuel supply, see 80 Fed. Reg. at 33,119, was not functioning as EPA had in-

tended. The economists concluded that

      [w]hile RIN prices might be passed through at some retail out-
      lets at some times, this is not the case on average using national
      prices . . . . [T]he key economic mechanism to induce consumers
      to purchase high-renewables blends is the incentives provided
      by RIN prices. If the RIN price savings inherent in blends with


6 Minsk examined whether high RIN prices in early 2013 actually incentiv-
ized additional build-out of E85 infrastructure where E85 is most readily
available. “Tellingly,” in “the state with most stations selling E85. . . as RIN
prices rose in early 2013, the number of stations selling E-85 declined.” JA
(Minsk Letter 3).
7 JA (Monroe Energy Comments Ex. A, Christopher R. Knittel et al., The
Pass-Through of RIN Prices to Wholesale and Retail Fuels Under the Re-
newable Fuel Standard 2 (June 2015), http://scholar.harvard.edu/files/
stock/files/pass-through_of_rin_prices_1.pdf).



                                                                             32
 CaseCase
USCA  7:17-cv-00004-O
           #16-1005   Document #1634780
                      Document 19-2 Filed 03/27/17    Page 34 of 79 Page
                                               Filed: 09/08/2016     PageID 277
                                                                         28 of 77


      high biofuels content are not passed on to the consumer, then
      this key mechanism of the RFS is not functioning properly.
JA (Monroe Energy Comments Ex. A 20).

      EPA also received comments that the misplaced point of obligation

has facilitated speculation, manipulation, and fraud in the RINs market,

which—despite billions of annual transactions collectively worth billions of

dollars—is essentially unregulated.8 E.g., JA (Valero Comments 29-31).

Commenters explained that the misplaced point of obligation has created

opportunities for blenders to reap windfall profits from selling RINs, rather

than incentivizing increased renewable-fuel sales. JA (Valero Comments

14-19; Coalition Comments 3-6).9 The Department of Energy likewise rec-

ognized that parties “generate revenue by blending renewable fuels and



8 With significant understatement, EPA has called this a “buyer beware”
market for RINs. See, e.g., RIN Quality Assurance Program, 78 Fed. Reg.
12,158, 12,162 (Feb. 21, 2013). The New York Times reported that “rules
that apply to almost every other market—on transparency, disclosure and
position limits, for example—are not imposed on the trade of RINs.” JA
(Valero Comments Attachment) (Morgenson & Gebeloff, Wall St. Exploits
Ethanol Credits, and Prices Spike, N.Y. Times, Sept. 15, 2013, at A1, avail-
able at http://www.nytimes.com/2013/09/15/business/wall-st-exploits-
ethanol-credits-and-prices-spike.html). Speculators unconnected to obligat-
ed parties or renewable fuel can buy and hoard RINs, and RIN prices are
essentially “unbridled.” Id. “[B]ecause the E.P.A. declines to disclose who
actively trades the credits, or how much they trade,” the market cannot func-
tion like other public trading markets. Id.
9One company, Murphy Oil, reported a $92.9 million profit from selling
RINs. JA (Coalition Comments 5).



                                                                             33
 CaseCase
USCA  7:17-cv-00004-O
           #16-1005   Document #1634780
                      Document 19-2 Filed 03/27/17    Page 35 of 79 Page
                                               Filed: 09/08/2016     PageID 278
                                                                         29 of 77


selling excess RINs” for “windfall profits,” frustrating statutory objectives.10

      Petitioners therefore identified EPA’s placement of the compliance

obligation as a supply constraint in 2014-2016, contributing to EPA’s need

for a waiver. They urged EPA to address that constraint by modifying the

regulatory definition of “obligated party” to apply to blenders. JA (Valero

Comments 38).

      D.     EPA refused to consider comments regarding the point
             of obligation but exercised its general waiver authority.
      In the Final Rule, EPA exercised its general waiver authority for the

first time.11 Stating that it was exercising the waiver only “to the extent

necessary,” 80 Fed. Reg. at 77,426, EPA set annual renewable-fuel re-

quirements below statutory volumes for 2014-2016, but at levels that reflect

a “market forcing” policy and require surmounting long-recognized con-

straints such as the E10 blendwall, id. at 77,423.

      In issuing the waiver, EPA recognized that reality had disproved its

economic theory and that higher RIN prices would not necessarily drive

greater renewable-fuel supply under the current Program structure. EPA


10See Small Refinery Exemption Study, Office of Policy and Int’l Affairs,
U.S. Dep’t of Energy 35 (Mar. 2011).
11Petitioners support EPA’s exercise of the waiver and have intervened on
EPA’s behalf to demonstrate that the waiver was necessary and authorized.
As detailed in this brief, EPA’s need to waive statutory volumes highlights
the illegality of EPA’s refusal to consider the appropriate point of obligation.



                                                                             34
 CaseCase
USCA  7:17-cv-00004-O
           #16-1005   Document #1634780
                      Document 19-2 Filed 03/27/17    Page 36 of 79 Page
                                               Filed: 09/08/2016     PageID 279
                                                                         30 of 77


acknowledged that for RINs to reduce the relative retail price of high-

ethanol fuel blends, the “marketplace [must] work[] both efficiently and

quickly.” Id. at 77,459. Yet EPA found that the marketplace was not work-

ing efficiently or quickly—just as the MIT, Michigan, and Harvard econo-

mists had found. As EPA explained, “the market [since 2013] was not suffi-

ciently responsive to higher RIN prices to drive large increases in E85 sales

volumes.” Id. It therefore candidly stated that “the RIN is currently an in-

efficient mechanism for reducing the price for higher level ethanol blends at

retail, and therefore unlikely to be able to significantly impact the supply of

ethanol in the United States in 2016.” Id. at 77,457.

      In reaching that conclusion, EPA relied on an updated RIN-market

analysis by EPA economist Dallas Burkholder. See id. at 77,459 n.84 (citing

An Assessment of the Impact of RIN Prices on the Retail Price of E85 (Nov.

2015)). Burkholder’s report explained that whether the value of RINs re-

duces the relative retail price of high-ethanol fuel-blends is “a significant

issue, as it is one of the primary ways the RFS program can incentivize the

increasing use of renewable fuels.” JA (Burkholder 3). The paper found

that instead of reducing the relative price of E85 to reflect the value of

RINs, as EPA had theorized, blenders and retailers that are not obligated

under the RFS Program instead profit by retaining the value of the RINs.




                                                                             35
 CaseCase
USCA  7:17-cv-00004-O
           #16-1005   Document #1634780
                      Document 19-2 Filed 03/27/17    Page 37 of 79 Page
                                               Filed: 09/08/2016     PageID 280
                                                                         31 of 77


JA (Burkholder 1, 10).

      This discussion implicated Petitioners’ comments that improper

placement of the compliance obligation on refiners and importers, but not

blenders, was itself a constraint causing dysfunction in the RIN market and

inhibiting renewable-fuel supply, and that modifying the point of obligation

would correct those problems. As Harvard economist James Stock noted,

“blenders are better situated to pass the RIN subsidy for high-renewable

content fuels along to the consumer than are the current obligated parties,

who are further upstream.” See JA (Monroe Energy Comments at 45; id.

Ex. B 29).

      EPA acknowledged that numerous commenters had suggested that

EPA modify the point of obligation. 80 Fed. Reg. at 77,431. EPA did not

deny that Petitioners identified real problems associated with the current

point of obligation or that salutary effects would flow from Petitioners’ pro-

posed revision to the regulatory definition of “obligated parties.” In fact,

the agency acknowledged that the point of obligation “can . . . play a role in

improving incentives provided by the RFS program to overcome challenges

that limit the potential for increased volumes of renewable fuels.” Id. In

response to Petitioners’ comments, however, EPA said only this:

      A number of commenters provided . . . suggestions that EPA . . .
      change the RFS program’s point of obligation from its current



                                                                             36
 CaseCase
USCA  7:17-cv-00004-O
           #16-1005   Document #1634780
                      Document 19-2 Filed 03/27/17    Page 38 of 79 Page
                                               Filed: 09/08/2016     PageID 281
                                                                         32 of 77


      focus on producers and importers of gasoline and diesel. . . .
      [T]hese issues are beyond the scope of this rulemaking.
Id.

      EPA claimed that “additional detailed responses” could be found in a

separately docketed Response to Comments. Id. at 77,483. In nearly 1,000

pages, however, EPA mustered only this response to the comments and

economic analyses regarding the point of obligation:

      In the proposed rule, EPA did not propose any changes to the
      definition of an obligated party, nor did we specifically seek
      comment on this issue. EPA received comments requesting
      that we change the point of obligation in the RFS program pri-
      marily from parties that are obligated under the current regula-
      tions. In response we also received comments primarily from
      those who did not wish to see the obligation placed on them.
      These comments are beyond the scope of this rulemaking.
      EPA’s current regulations, published in March 2010, define an
      obligated party as any refiner that produces gasoline or diesel
      fuel . . . .
JA (Response to Comments 883).

                       SUMMARY OF ARGUMENT

      EPA’s Final Rule promulgated annual renewable-fuel requirements

but refused to consider whether they were applicable to the appropriate

parties, as the statute requires. Chevron and arbitrary-and-capricious re-

view each requires remand for EPA to consider the point of obligation.

      EPA’s promulgation of the Final Rule without consideration of the

appropriate parties to be obligated was contrary to plain statutory lan-




                                                                             37
 CaseCase
USCA  7:17-cv-00004-O
           #16-1005   Document #1634780
                      Document 19-2 Filed 03/27/17    Page 39 of 79 Page
                                               Filed: 09/08/2016     PageID 282
                                                                         33 of 77


guage. The statute requires EPA to set annual obligations to “ensure” that

statutory requirements for renewable fuel “are met.” Congress unambigu-

ously mandated that a “required element” of these annual determinations is

that the obligations “shall . . . be applicable” to “appropriate” parties. EPA

contravened its statutory duty by refusing to address comments demon-

strating that EPA failed to obligate appropriate parties and by failing to

consider this issue in the Final Rule.

      Even if the statute were less clear, no reasonable interpretation could

support EPA’s position that the question of who should be obligated was ir-

relevant to the underlying rulemaking. That interpretation is inconsistent

with the statute’s text, purpose, and structure, as well as multiple aspects of

the NPRM and the Final Rule, including EPA’s exercise of general waiver

authority.

      Finally, EPA’s refusal to respond to Petitioners’ comments on the

point of obligation or otherwise consider the issue renders aspects of the

Final Rule arbitrary and capricious both procedurally and substantively.

EPA’s contention that the point of obligation was beyond the scope of the

rulemaking cannot withstand scrutiny. To the contrary, this issue is square-

ly within EPA’s statutory duty, Petitioners’ comments responded directly to

EPA’s NPRM, and accepting those comments and supporting data would




                                                                             38
 CaseCase
USCA  7:17-cv-00004-O
           #16-1005   Document #1634780
                      Document 19-2 Filed 03/27/17    Page 40 of 79 Page
                                               Filed: 09/08/2016     PageID 283
                                                                         34 of 77


have required a change in the Final Rule. The point of obligation is not

tangential to the Final Rule, but (as EPA itself has admitted) is central to

how the RFS Program functions. For that and other reasons, EPA’s refusal

to consider whether the appropriate parties are obligated renders the Final

Rule’s rationale internally inconsistent—which makes it arbitrary and capri-

cious. EPA’s refusal to confront the compliance obligation contrasts starkly

with its findings and commitments in prior RFS Program rulemakings, and

EPA has offered nothing to justify its very different approach today.

                                 STANDING

      Petitioners incorporate the standing and standard-of-review discus-

sions from Obligated Party Petitioners’ Opening Brief on Cellulosic Biofuel

and Biomass-Based Diesel (at 12-13). As obligated parties, Petitioners have

standing. See Monroe Energy, 750 F.3d at 915.

                                ARGUMENT

      Remand is necessary because, contrary to Congress’s command, EPA

refused to consider whether it placed RFS Program compliance obligations

on “appropriate” parties.

      A.     EPA violated its plain statutory duty to determine re-
             newable-fuel obligations that are “applicable” to “re-
             fineries, blenders, and importers, as appropriate.”
      Each year, EPA must “determine and publish” the annual renewable-

fuel obligation that “ensures” that the applicable statutory volumes for re-



                                                                             39
 CaseCase
USCA  7:17-cv-00004-O
           #16-1005   Document #1634780
                      Document 19-2 Filed 03/27/17    Page 41 of 79 Page
                                               Filed: 09/08/2016     PageID 284
                                                                         35 of 77


newable fuel “are met.” 42 U.S.C. § 7545(o)(3)(B)(i). That annual determi-

nation “shall” include:

      (ii) Required elements
      The renewable fuel obligation determined for a calendar year
      under clause (i) shall—
            (I)    be applicable to refineries, blenders, and importers,
                   as appropriate;
            (II)   be expressed in terms of a volume percentage of
                   transportation fuel sold or introduced into com-
                   merce in the United States; and
            (III) subject to subparagraph (C)(i), consist of a single
                  applicable percentage that applies to all categories
                  of persons specified in subclause (I).
Id. § 7545(o)(3)(B)(ii).

      In the Final Rule, EPA acknowledged its duty to satisfy these required

elements. See 80 Fed. Reg. at 77,511; see also 75 Fed. Reg. at 76,791-792.

In refusing to consider Petitioners’ comments regarding placement of the

obligation on the appropriate parties, however, EPA effectively declared the

first of the “required elements” to be “beyond the scope of th[e] rulemak-

ing.” 80 Fed. Reg. at 77,431.

      The statute’s plain language establishes that each of the three “re-

quired elements” is mandatory. EPA recognizes, for example, that it can-

not, consistent with subparagraph (B)(ii)(III), promulgate percentage

standards that do not consist of a “single annual standard.” 80 Fed. Reg. at



                                                                             40
 CaseCase
USCA  7:17-cv-00004-O
           #16-1005   Document #1634780
                      Document 19-2 Filed 03/27/17    Page 42 of 79 Page
                                               Filed: 09/08/2016     PageID 285
                                                                         36 of 77


77,511. It obviously could not avoid that requirement by declaring it to be

“beyond the scope of th[e] rulemaking.” Nor does anything in the statute

allow EPA to disregard another required element—EPA’s duty under sub-

paragraph (B)(ii)(I) to obligate parties “as appropriate.” See New York v.

EPA, 413 F.3d 3, 41 (D.C. Cir. 2005) (this Court “has consistently struck

down administrative narrowing of clear statutory mandates”) (quotation

marks omitted).

      EPA has elsewhere protested that changing the point of obligation

yearly would be impractical. That mischaracterizes Petitioners’ argument,

which is that the agency has a statutory duty to consider the issue, particu-

larly on this administrative record. EPA may not unilaterally convert what

Congress made a “required element” of the annual rulemaking process into

something “beyond the scope of th[e] rulemaking” simply by “not

propos[ing] any changes to [it]” “[i]n the proposed rule.” JA (Response to

Comments 883). 12

      Because EPA disregarded what the statute establishes as a “required

element” of its duty when promulgating annual percentage standards, the

12 EPA cannot argue that the point of obligation “was not at issue in [the
underlying] rulemaking,” Monroe Energy, 750 F.3d at 919, because here
numerous Petitioners raised the issue in voluminous comments that were
responsive to EPA’s NPRM. In Monroe Energy, by contrast, petitioners
had not argued for a change in the regulatory definition of “obligated par-
ty,” and EPA had not exercised its statutory general waiver authority.



                                                                             41
 CaseCase
USCA  7:17-cv-00004-O
           #16-1005   Document #1634780
                      Document 19-2 Filed 03/27/17    Page 43 of 79 Page
                                               Filed: 09/08/2016     PageID 286
                                                                         37 of 77


Final Rule directly contravenes “the expressed intent of Congress.” Chev-

ron, U.S.A., Inc. v. NRDC, Inc., 467 U.S. 837, 843 (1984). EPA’s failure to

obey the congressional mandate requires a remand for EPA to consider

whether it remains “appropriate” to obligate refiners and importers, but not

blenders. See City of Arlington v. FCC, 133 S. Ct. 1863, 1868 (2013) (where

“the intent of Congress is clear, that is the end of the matter” (quotation

marks omitted)).

      B.    EPA’s disregard of the point of obligation is premised
            on an unreasonable interpretation of the statute.
      Even if the statute were silent or ambiguous regarding consideration

of which parties to obligate, treating that issue as categorically irrelevant to

EPA’s annual duty to set percentages would be unreasonable and contrary

to the Act’s purposes. See Util. Air Regulatory Grp. (“UARG”) v. EPA, 134

S. Ct. 2427, 2442 (2014) (“Even under Chevron’s deferential framework,

agencies must operate within the bounds of reasonable interpretation.”

(quotation marks omitted)).

      First, such an interpretation is unreasonable in light of Congress’s re-

peated emphasis on the importance of obligating the “appropriate” parties.

Congress expressly commanded EPA not once but twice to obligate parties

“as appropriate” when promulgating RFS Program regulations. See 42

U.S.C. § 7545(o)(2)(A)(iii)(I), 7545(o)(3)(B)(ii)(I). Congress first provided



                                                                             42
 CaseCase
USCA  7:17-cv-00004-O
           #16-1005   Document #1634780
                      Document 19-2 Filed 03/27/17    Page 44 of 79 Page
                                               Filed: 09/08/2016     PageID 287
                                                                         38 of 77


that “[i]n general” and “[r]egardless of the date of promulgation,” RFS Pro-

gram regulations “shall contain compliance provisions applicable to refin-

eries, blenders, distributors, and importers, as appropriate, to ensure” that

statutory volume requirements “are met.” Id. § 7545(o)(2)(A)(iii)(I) (em-

phasis added). But Congress also provided that this same obligation occurs

when setting annual percentage standards. Id. § 7545(o)(3)(B)(ii)(I).

      Congress thus unmistakably emphasized obligating the “appropriate”

parties both for RFS Program regulations generally but also with respect to

the required element of the annual percentage standards. This underscores

EPA’s continuing duty to obligate those parties best able to “ensure” that

the statutory volumes “are met.” Id. The word “appropriate”

      is the classic broad and all-encompassing term that naturally
      and traditionally includes consideration of all the relevant fac-
      tors. Although this term leaves agencies with flexibility, an
      agency may not entirely fai[l] to consider an important aspect of
      the problem when deciding whether regulation is appropriate.
Michigan v. EPA, 135 S. Ct. 2699, 2707 (2015) (quotation marks omitted);

see also Chem. Mfrs. Ass’n v. EPA, 217 F.3d 861, 866-67 (D.C. Cir. 2000)

(regulations must be consistent with Clean Air Act’s purposes). EPA cannot

satisfy its statutory duty when setting annual percentage standards without

at least considering the appropriateness of the obligated parties.

      The Court voiced similar concerns in Michigan, where it rejected




                                                                             43
 CaseCase
USCA  7:17-cv-00004-O
           #16-1005   Document #1634780
                      Document 19-2 Filed 03/27/17    Page 45 of 79 Page
                                               Filed: 09/08/2016     PageID 288
                                                                         39 of 77


EPA’s interpretation that cost was irrelevant to deciding whether to regu-

late power plants under 42 U.S.C. § 7412(n)(1)(A), which requires the agen-

cy to “regulate electric utility steam generating units . . . if . . . such regula-

tion is appropriate and necessary.” Although EPA determined cost to be ir-

relevant only after extensively addressing comments arguing otherwise, the

Court held that EPA’s decision “strayed far beyond” legal bounds. Michi-

gan, 135 S. Ct. at 2707. Here, EPA ignored a far plainer statutory com-

mand.13

      Second, the fact that EPA confronted supply constraints triggering its

general waiver authority in this rulemaking “should have alerted EPA that

it had taken a wrong interpretive turn” in treating the appropriateness of

the obligated parties as beyond the rulemaking’s scope. UARG, 134 S. Ct. at

2446. Exercising its waiver authority required EPA to determine that there

is an “inadequate domestic supply.” 42 U.S.C. § 7545(o)(7)(A)(ii). This in

turn required consideration of the “the full range of constraints” affecting

supply. 80 Fed. Reg. at 77,435. EPA generally claimed to take into account

13 Treating the point of obligation as beyond the scope of rulemakings set-
ting annual percentage standards, moreover, creates tension with other
RFS Program provisions. For example, “[i]n determining the applicable
percentage for a calendar year,” EPA “shall make adjustments . . . to pre-
vent the imposition of redundant obligations on” obligated parties. 42
U.S.C. § 7545(o)(3)(C)(i). This requirement further illustrates the statutory
structure’s purposeful imposition—at multiple points—of EPA’s duty to fo-
cus on obligating only appropriate parties.



                                                                               44
 CaseCase
USCA  7:17-cv-00004-O
           #16-1005   Document #1634780
                      Document 19-2 Filed 03/27/17    Page 46 of 79 Page
                                               Filed: 09/08/2016     PageID 289
                                                                         40 of 77


“the ability of the standards we set to cause a market response and result

in increases in the supply of renewable fuels.” Id. at 77,449 (emphasis

added).

      In this context particularly, it was unreasonable for EPA to exclude

from consideration how its own regulatory choice—obligating refiners and

importers, but not blenders—affected the domestic supply it determined to

be “inadequate.” EPA admits that the only justification it has ever offered

for the existing obligation point “is no longer valid,” 75 Fed. Reg. at 14,722,

and that unobligated blenders are “choos[ing]” behavior at odds with statu-

tory objectives, see 80 Fed. Reg. at 77,458-460. Allowing EPA to disregard

systemic roadblocks of its own making frustrates the statute’s purposes.

And because “each additional supply increment is likely to be more difficult

to achieve than the previous increments,” unattended-to defects will only

become more problematic over time. Id. at 77,481.

      Accordingly, EPA’s view—that it may disregard the consequences of

its own regulatory compliance provisions when purporting to consider how

its annual standards will affect supply, id. at 77,449—is not entitled to

Chevron deference.

      C.    EPA’s refusal to consider the compliance point is arbi-
            trary and capricious.
      EPA recognized that modifying the point of obligation could “im-



                                                                             45
 CaseCase
USCA  7:17-cv-00004-O
           #16-1005   Document #1634780
                      Document 19-2 Filed 03/27/17    Page 47 of 79 Page
                                               Filed: 09/08/2016     PageID 290
                                                                         41 of 77


prov[e] incentives provided by the RFS Program to overcome challenges

that limit the potential for increased volumes of renewable fuels.” Id. at

77,431. Yet EPA refused even to consider comments on which parties are

appropriately obligated, declaring those comments “beyond the scope of

this rulemaking.” Id. EPA’s conclusory refusal to consider the point of ob-

ligation renders the Final Rule arbitrary and capricious. Thus, remand is

also required under this standard of review.

             1.    Petitioners’ comments were not beyond the scope of the
                   rulemaking.
      As detailed above in Sections A and B, the plain statutory language

demonstrates that Petitioners’ comments regarding the point of obligation

were not “beyond the scope of th[e] rulemaking” as EPA professed, 80 Fed.

Reg. at 77,431, but instead involved a “required element” of EPA’s determi-

nation, 42 U.S.C. § 7545(o)(3)(B)(ii).

      Petitioners’ comments also responded directly to considerations EPA

identified in the NPRM. EPA sought recommendations that would allow it

to increase renewable-fuel use over time while also accounting for “real-

world limitations” that “have made the timeline laid out by Congress ex-

tremely difficult to achieve.” 80 Fed. Reg. at 33,101. Petitioners’ comments




                                                                             46
 CaseCase
USCA  7:17-cv-00004-O
           #16-1005   Document #1634780
                      Document 19-2 Filed 03/27/17    Page 48 of 79 Page
                                               Filed: 09/08/2016     PageID 291
                                                                         42 of 77


answered that call. 14 See supra pp. 12-15.

      EPA’s characterization of these comments as beyond the scope—and

its refusal to consider and respond to them—was thus arbitrary and capri-

cious. See Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463

U.S. 29, 42-43 (1983) (agency that “entirely failed to consider an important

aspect of the problem” acts arbitrarily and capriciously). “One of the basic

procedural requirements of administrative rulemaking is that an agency

must . . . examine the relevant data and articulate a satisfactory explanation

for its action.” Encino Motorcars, LLC v. Navarro, 136 S. Ct. 2117, 2125

(2016) (quotation marks omitted).

      In Delaware Department of Natural Resources and Environmental

Control v. EPA, for example, EPA acted arbitrarily and capriciously by

characterizing as “far afield” from its statutory responsibilities comments

14 Another unaddressed agency-imposed constraint on supply was EPA’s
failure to establish gasoline-specific and diesel-specific standards, creating
a “more difficult compliance pathway.” JA (Coalition Comments 15). Years
ago, EPA acknowledged that creating a diesel-specific standard would
“more readily align the RFS obligations,” yet chose not to “unnecessarily
complicate the program,” despite comments that refiners were ill-equipped
to blend fuels they do not produce. See Regulation of Fuels and Fuel Addi-
tives: Changes to Renewable Fuel Standard Program, 74 Fed. Reg. 24,904,
24,953 (May 26, 2009). In the present rulemaking, the Coalition identified
EPA’s refusal to address the disparate treatment of gasoline and diesel as
an agency-imposed supply constraint. JA (Coalition Comments 15). EPA
ignored the Coalition’s comment without even labeling the issue as “outside
the scope” of the rulemaking. EPA’s subsequent use of its waiver authority
made it arbitrary and capricious to ignore this agency-imposed constraint.



                                                                             47
 CaseCase
USCA  7:17-cv-00004-O
           #16-1005   Document #1634780
                      Document 19-2 Filed 03/27/17    Page 49 of 79 Page
                                               Filed: 09/08/2016     PageID 292
                                                                         43 of 77


warning that a proposed rule governing use of certain power generators

“threaten[ed] the efficiency and reliability of the energy markets” by forcing

out traditional generators. 785 F.3d 1, 14-15 (D.C. Cir. 2015). This Court

held that “EPA cannot get away so easily from its obligations . . . to respond

to relevant and significant comments,” emphasizing EPA’s duty to “respond

sufficiently to enable us to see what major issues of policy were ventilated

. . . and why the agency reacted to them as it did.” Id. at 15 (quotation

marks omitted). Here, EPA offered no explanation for characterizing the

point of obligation as beyond the scope and did not even provide the “wan

responses to . . . comments” that this Court found inadequate in Delaware.

Id. “[C]onclusory statements will not do; an agency’s statement [explaining

its action] must be one of reasoning.” Amerijet Int’l, Inc. v. Pistole, 753

F.3d 1343, 1350 (D.C. Cir. 2014) (quotation marks omitted).

      EPA also was required to respond to Petitioners’ comments because

their proposal, “if adopted, would [have] require[d] a change in [the] agen-

cy’s proposed rule.” Home Box Office, Inc. v. FCC, 567 F.2d 9, 35 n.58

(D.C. Cir. 1977). For example, EPA claims to have “finaliz[ed] volume re-

quirements based . . . on the volumes that can be supplied in 2016 as the

market addresses infrastructure and other constraints.” 80 Fed. Reg. at

77,423. If the misplaced point of obligation is itself a constraint on supply




                                                                             48
 CaseCase
USCA  7:17-cv-00004-O
           #16-1005   Document #1634780
                      Document 19-2 Filed 03/27/17    Page 50 of 79 Page
                                               Filed: 09/08/2016     PageID 293
                                                                         44 of 77


that thwarts infrastructure development, however, then EPA’s utter disre-

gard of that constraint renders its consideration of “infrastructure . . . con-

straints” incomplete. Id. Likewise, if Petitioners’ comments are correct,

then the obligation point in the Final Rule not only fails to “create incen-

tives to increase renewable fuel supplies and overcome constraints in the

market” as “Congress . . . clearly . . . intended,” but actually entrenches dis-

incentives to increased renewable-fuel use. Id.

             2.    EPA’s refusal to consider the point of obligation is incon-
                   sistent with the Final Rule’s rationale.
      EPA’s refusal to consider or respond to Petitioners’ comments regard-

ing the compliance point is arbitrary and capricious because it is incon-

sistent with the Final Rule’s rationale and “runs counter to the evidence be-

fore the agency.” See State Farm, 463 U.S. at 43. For example, EPA’s anal-

ysis showed that leaving blenders unobligated has delayed necessary in-

vestment in renewable-fuel infrastructure.       As EPA explained, blenders

must “invest in new infrastructure to increase their capacity to blend and

distribute renewable fuels” to facilitate sales growth.       80 Fed. Reg. at

77,459. Naturally, blenders “must see sustained profit opportunities before

they are willing to invest in new infrastructure.” Id. (emphasis added).

Seeing no such opportunities, however, blenders have chosen not to make

the necessary investments in infrastructure, leading EPA to conclude that



                                                                             49
 CaseCase
USCA  7:17-cv-00004-O
           #16-1005   Document #1634780
                      Document 19-2 Filed 03/27/17    Page 51 of 79 Page
                                               Filed: 09/08/2016     PageID 294
                                                                         45 of 77


“the RFS program . . . likely cannot substantially increase the available sup-

ply of renewable transportation fuels . . . to the volumes envisioned by Con-

gress in the short term.” Id. at 77,460. EPA’s recognition of this reality un-

derscores the arbitrariness of its refusal to consider whether blenders

should be obligated under the Final Rule to incentivize behavior necessary

to achieve statutory objectives.

      EPA also correctly acknowledged that because “the RIN is currently

an inefficient mechanism for reducing the price for higher level ethanol

blends at retail,” the RIN system is “unlikely to be able to significantly im-

pact the supply of ethanol in the United States in 2016.” Id. at 77,457. Peti-

tioners’ comments explained, however, that the regulatory definition of

“obligated party” is a root cause of the RIN system’s inefficiency, because it

allows unobligated blenders to profit from RINs rather than passing their

value through to retail customers in the form of subsidized E85 prices. See

supra pp. 13-15. EPA could not rationally ignore these comments—with

which EPA essentially agreed, see supra pp. 16-17—while simultaneously

purporting to address the constraints impeding growth in the renewable-

fuel supply.

      Moreover, EPA’s refusal to consider the point of obligation is incon-

sistent with its waiver-related discussion in the Final Rule. For example,




                                                                             50
 CaseCase
USCA  7:17-cv-00004-O
           #16-1005   Document #1634780
                      Document 19-2 Filed 03/27/17    Page 52 of 79 Page
                                               Filed: 09/08/2016     PageID 295
                                                                         46 of 77


            EPA agrees that its approach to interpreting the
            term “inadequate domestic supply” should be con-
            sistent with the objectives of the statute to grow re-
            newable fuel use over time by placing appropriate
            pressure on all stakeholders to act within their
            spheres of influence to increase biofuel production
            and use of renewable fuels.
80 Fed. Reg. at 77,439. Having flatly refused even to consider whether cur-

rent regulations obligate the appropriate parties, however, EPA could not

have considered whether its regulations “plac[e] appropriate pressure on all

stakeholders.” Id.

      Similarly, EPA concluded that the Final Rule’s percentage standards

reflect “the most likely maximum volume that can be made available under

real world conditions.” Id. at 77,449. The corresponding need for the

waiver exemplifies why ignoring Petitioners’ comments—which demon-

strated that the existing compliance point itself impedes increasing renew-

able-fuel use—guarantees future deficiencies, contrary to Congress’s goals.

The centrality of the point of obligation to the Final Rule should have been

obvious to EPA, which declared in prior rulemakings that “alternative ap-

proaches” to the point of obligation would “more evenly align a party’s ac-

cess to RINs with that party’s [renewable-fuel] obligations.” 75 Fed. Reg. at

14,722; see also API, 706 F.3d at 480 (recognizing “asymmetry of incen-

tives” inherent in the current compliance provision).




                                                                             51
 CaseCase
USCA  7:17-cv-00004-O
           #16-1005   Document #1634780
                      Document 19-2 Filed 03/27/17    Page 53 of 79 Page
                                               Filed: 09/08/2016     PageID 296
                                                                         47 of 77


      EPA’s outright refusal even to consider this issue when exercising its

general waiver authority was arbitrary and capricious. See State Farm, 463

U.S. at 48 (“[a]t the very least,” agency should have addressed alternative

proposal described in comments and provided “adequate reasons” for

abandoning it) (emphasis added). EPA offered no explanation—much less

a “reasoned explanation”—for refusing to examine the point of obligation in

the Final Rule. EPA’s “self-contradictory, wandering logic” “does not con-

stitute an adequate explanation of agency action.” See Delaware, 785 F.3d

at 16 (quotation marks omitted).

            3.     EPA’s refusal to consider the point of obligation is incon-
                   sistent with its prior findings and conclusions.
      In its 2010 Rule, EPA acknowledged that the “rationale . . . for placing

the obligation on just the upstream refiners and importers is no longer val-

id” and admitted that “alternative approaches” would “more evenly align a

party’s access to RINs with that party’s [RFS Program] obligations.” 75

Fed. Reg. at 14,722. But after considering comments, the agency decided

not to then change the point of obligation. EPA explained that it “contin-

ue[d] to believe that the market w[ould] provide opportunities for parties

who are in need of RINs to acquire them from parties who have excess.” Id.

EPA assured interested stakeholders that it would “continue to evaluate the

functionality of the RIN market” and pledged to “consider revisiting” the



                                                                             52
 CaseCase
USCA  7:17-cv-00004-O
           #16-1005   Document #1634780
                      Document 19-2 Filed 03/27/17    Page 54 of 79 Page
                                               Filed: 09/08/2016     PageID 297
                                                                         48 of 77


point of obligation if EPA “determine[d] that the RIN market is not operat-

ing as intended, driving up prices for obligated parties and fuel prices for

consumers.” Id.

      By 2015, EPA had made such a determination. It acknowledged that

the RIN market was no longer functioning as intended. See, e.g., 80 Fed.

Reg. at 77,457 (“[T]he RIN is currently an inefficient mechanism for reduc-

ing the price for higher level ethanol blends at retail, and therefore unlikely

to be able to significantly impact the supply of ethanol in the United States

in 2016.”). But to the dismay of all who relied on EPA’s 2010 pledge, in-

cluding Petitioners, EPA refused to consider revisiting the point of obliga-

tion and declared all comments on the issue “beyond the scope of the rule-

making.”

      EPA’s sudden and unexplained abandonment of its earlier commit-

ment to considering the point of obligation is arbitrary and capricious. See

Pac. Nw. Newspaper Guild v. NLRB, 877 F.2d 998, 1003 (D.C. Cir. 1989)

(“core concern” of arbitrary-and-capricious review is to prevent agency “ad

hocery”). EPA responded to comments regarding the point of obligation in

2010 when the issue was less urgent because “compliance with the . . . total

renewable volume requirements could be readily achieved.” 80 Fed. Reg. at

77,423. Now that statutory volume targets are unattainable and the RIN




                                                                             53
 CaseCase
USCA  7:17-cv-00004-O
           #16-1005   Document #1634780
                      Document 19-2 Filed 03/27/17    Page 55 of 79 Page
                                               Filed: 09/08/2016     PageID 298
                                                                         49 of 77


market clearly does not function as intended, EPA’s refusal to reexamine an

admittedly problematic point of obligation required at least the equivalent

consideration and explanation. Cf. FCC v. Fox Television Stations, Inc.,

556 U.S. 502, 515 (2009) (when “new policy rests upon factual findings that

contradict” old policy’s factual basis “or when its prior policy has engen-

dered serious reliance interests,” agency must provide “a more detailed jus-

tification” for changing course than would be required “for a new policy

created on a blank slate”). Because EPA “has failed to provide even that

minimal level of analysis” and refused to consider a compliance point that,

in its view, lacks a valid rationale, its failure to consider the point of obliga-

tion in the context of the Final Rule is arbitrary and capricious. Encino Mo-

torcars, 136 S. Ct. at 2125; see also Chem. Mfrs. Ass’n, 217 F.3d at 867 (EPA

may not “impose costly obligations on regulated entities without regard to

the Clean Air Act’s purpose”). Accordingly, remand is required.15

                               CONCLUSION

      EPA’s explicit refusal to consider Petitioners’ comments and to de-

termine whether the requirements promulgated in the Final Rule are made


15This Court may remand for additional agency proceedings without vacat-
ing the rule during the interim. E.g., Allied-Signal, Inc. v. Nuclear Regula-
tory Comm’n, 988 F.2d 146, 150-51 (D.C. Cir. 1993); White Stallion Energy
Ctr., LLC v. EPA, No. 12-1100, 2015 WL 11051103 (D.C. Cir. Dec. 15, 2015)
(per curiam).



                                                                              54
 CaseCase
USCA  7:17-cv-00004-O
           #16-1005   Document #1634780
                      Document 19-2 Filed 03/27/17    Page 56 of 79 Page
                                               Filed: 09/08/2016     PageID 299
                                                                         50 of 77


applicable to the appropriate parties requires granting Petitioners’ Petitions

for Review and remanding for further consideration.




                                                                             55
 CaseCase
USCA  7:17-cv-00004-O
           #16-1005   Document #1634780
                      Document 19-2 Filed 03/27/17    Page 57 of 79 Page
                                               Filed: 09/08/2016     PageID 300
                                                                         51 of 77


Respectfully submitted,


 /s/ Evan A. Young
Evan A. Young            LeAnn M. Johnson              Richard S. Moskowitz
BAKER BOTTS L.L.P.       Albert Ferlo                  American Fuel & Petro-
98 San Jacinto Blvd.     Perkins Coie LLP              chemical Manufactur-
Austin, TX 78701         700 Thirteenth Street,        ers
(512) 322-2506           N.W. Suite 600                1667 K Street, NW
Samara L. Kline          Washington, DC 20005          Suite 700
BAKER BOTTS L.L.P.       (202) 654-6209                Washington, DC 20006
2001 Ross Avenue         Counsel for Petitioners       (202) 552-8474
Dallas, TX 75201         Alon Refining Krotz           Thomas Allen Lorenzen
(214) 953-6500           Springs, Inc., American       Crowell & Moring LLP
Shane Pennington         Refining Group, Inc.,         1001 Pennsylvania Av-
BAKER BOTTS L.L.P.       Calumet Specialty Prod-       enue, NW
910 Louisiana St.        ucts Partners, L.P.,          Washington, DC
Houston, TX 77002        Ergon-West Virginia,          20004-2595
(713) 229-1340           Inc., Hunt Refining           (202) 624-2789
                         Company, Lion Oil Com-        Counsel for Petitioner
Lisa M. Jaeger           pany, Placid Refining
Richard Alonso                                         American Fuel &
                         Company, U.S. Oil & Re-       Petrochemical
BRACEWELL LLP            fining Co., and Wyoming
2000 K Street, NW                                      Manufacturers
                         Refining Company
Suite 500
Washington, DC
20006-1872               Thomas J. Perrelli
(202) 828-5800           David W. DeBruin
                         Matthew E. Price
Counsel for              JENNER & BLOCK LLP
Petitioner Valero        1099 New York Ave. NW
Energy Corp.             Suite 900
                         Washington, DC 20001
                         (202) 639-6873
                         Counsel for Petitioner
                         Monroe Energy, LLC




                                                                             56
 CaseCase
USCA  7:17-cv-00004-O
           #16-1005   Document #1634780
                      Document 19-2 Filed 03/27/17    Page 58 of 79 Page
                                               Filed: 09/08/2016     PageID 301
                                                                         52 of 77


                    CERTIFICATE OF COMPLIANCE

       This brief complies with the type-volume limitation of Federal Rule of

Appellate Procedure 32(a)(7)(B) and this Court’s briefing order because

this brief contains 6,895 words, excluding the parts of the brief exempted

by Federal Rule of Appellate Procedure 32(a)(7)(B)(iii). This brief complies

with the typeface requirements of Federal Rule of Appellate Procedure

32(a)(5) and the type-style requirements of Federal Rule of Appellate Pro-

cedure 32(a)(6) because this brief has been prepared in a proportionally-

spaced typeface using Microsoft Office Word 2010 in 14-point Georgia font.



                                                 /s/Evan A. Young
                                                   Evan A. Young

September 8, 2016




                                                                             57
 CaseCase
USCA  7:17-cv-00004-O
           #16-1005   Document #1634780
                      Document 19-2 Filed 03/27/17    Page 59 of 79 Page
                                               Filed: 09/08/2016     PageID 302
                                                                         53 of 77


                       CERTIFICATE OF SERVICE

      I hereby certify that on September 8, 2016, I caused copies of the

foregoing document to be served by the Court’s CM/ECF system, which will

send a notice of the filing to all registered CM/ECF users.




                                                 /s/Evan A. Young
                                                   Evan A. Young
September 8, 2016




                                                                             58
  Case 7:17-cv-00004-O
  USCA Case #16-1005 Document
                       Document19-2 Filed 03/27/17
                                #1658140        Filed:Page 60 of 79 PageID
                                                       01/30/2017          303
                                                                    Page 1 of 1

                        United States Court of Appeals
                                 FOR THE DISTRICT OF COLUMBIA CIRCUIT



No. 16-1005                                                   September Term, 2016
                                                                            EPA-80FR77420
                                                     Filed On: January 30, 2017 [1658140]
Americans for Clean Energy, et al.,

                   Petitioners

         v.

Environmental Protection Agency and
Regina A. McCarthy, Administrator,

                   Respondents

------------------------------

E.I. du Pont de Nemours and Company, et
al.,
                   Intervenors
------------------------------

Consolidated with 16-1044, 16-1047,
16-1049, 16-1050, 16-1053, 16-1054,
16-1056

                                             ORDER

       It is ORDERED, on the court's own motion, that this case be scheduled for oral
argument on April 24, 2017, at 9:30 A.M. The composition of the argument panel will
usually be revealed thirty days prior to the date of oral argument on the court's web site at
www.cadc.uscourts.gov.

         The time and date of oral argument will not change absent further order of the
Court.

         A separate order will be issued regarding the allocation of time for argument.

                                                            FOR THE COURT:
                                                            Mark J. Langer, Clerk

                                                    BY:     /s/
                                                            Michael C. McGrail
                                                            Deputy Clerk

The following forms and notices are available on the Court's website:

         Memorandum to Counsel Concerning Cases Set for Oral Argument (Form 71)



                                                                                            59
Case 7:17-cv-00004-O Document 19-2 Filed 03/27/17   Page 61 of 79 PageID 304
Case 7:17-cv-00004-O Document 19-2 Filed 03/27/17   Page 62 of 79 PageID 305
Case 7:17-cv-00004-O Document 19-2 Filed 03/27/17   Page 63 of 79 PageID 306
Case 7:17-cv-00004-O Document 19-2 Filed 03/27/17   Page 64 of 79 PageID 307
Case 7:17-cv-00004-O Document 19-2 Filed 03/27/17   Page 65 of 79 PageID 308
Case 7:17-cv-00004-O Document 19-2 Filed 03/27/17   Page 66 of 79 PageID 309
Case 7:17-cv-00004-O Document 19-2 Filed 03/27/17   Page 67 of 79 PageID 310
Case 7:17-cv-00004-O Document 19-2 Filed 03/27/17   Page 68 of 79 PageID 311
Case 7:17-cv-00004-O Document 19-2 Filed 03/27/17   Page 69 of 79 PageID 312
Case 7:17-cv-00004-O Document 19-2 Filed 03/27/17   Page 70 of 79 PageID 313
Case 7:17-cv-00004-O Document 19-2 Filed 03/27/17   Page 71 of 79 PageID 314
Case 7:17-cv-00004-O Document 19-2 Filed 03/27/17   Page 72 of 79 PageID 315
Case 7:17-cv-00004-O Document 19-2 Filed 03/27/17   Page 73 of 79 PageID 316
Case 7:17-cv-00004-O Document 19-2 Filed 03/27/17   Page 74 of 79 PageID 317
Case 7:17-cv-00004-O Document 19-2 Filed 03/27/17   Page 75 of 79 PageID 318
Case 7:17-cv-00004-O Document 19-2 Filed 03/27/17   Page 76 of 79 PageID 319
Case 7:17-cv-00004-O Document 19-2 Filed 03/27/17   Page 77 of 79 PageID 320
Case 7:17-cv-00004-O Document 19-2 Filed 03/27/17   Page 78 of 79 PageID 321
Case 7:17-cv-00004-O Document 19-2 Filed 03/27/17   Page 79 of 79 PageID 322
